     Case 2:12-cr-00016-WFN      ECF No. 990    filed 09/01/20   PageID.5806 Page 1 of 2




 1   William D. Hyslop                                       FILED IN THE
                                                         U.S. DISTRICT COURT

 2   United States Attorney                        EASTERN DISTRICT  OF WASHINGTON

     Eastern District of Washington
 3   Timothy J. Ohms
                                                    Sep 01, 2020
                                                        SEAN F. M AVOY, CLERK
                                                                       C
 4   Patrick J. Cashman
     Assistant United States Attorneys
 5   Post Office Box 1494
 6   Spokane, WA 99210-1494
 7   Telephone: (509) 353-2767
                           UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF WASHINGTON
 9
     UNITED STATES OF AMERICA,
10                                              Case No.: 2:12-CR-00016-WFN-5
11                              Plaintiff,
12                                              INFORMATION SUPERSEDING
                   v.
13                                              INDICTMENT
14   BRICE CHRISTIAN DAVIS,
                                                Vio: 21 U.S.C. § 841(a)(1), (b)(1)(C)
15                              Defendant.           Manufacture of Marijuana
16
                                                      Forfeiture Allegations
17                                                    21 U.S.C. § 853
18
19
     The United States Attorney Charges:
20
           On or about November 2, 2011, in the Eastern District of Washington, the
21
     Defendant, BRICE CHRISTIAN DAVIS, knowingly and intentionally
22
23   manufactured 50 or more marijuana plants, a Schedule I controlled substance, in

24   violation of 21 U.S.C. § 841(a)(1), (b)(1)(C).
25                        NOTICE OF CRIMINAL FORFEITURE
26
27         1.     The allegations contained in this Information Superseding Indictment
28   are hereby realleged and incorporated by reference for the purpose of alleging
     forfeitures pursuant to 21 U.S.C. § 853.

     Information Superseding Indictment - 1
     Case 2:12-cr-00016-WFN      ECF No. 990     filed 09/01/20   PageID.5807 Page 2 of 2




 1         2.     Pursuant to 21 U.S.C. § 853, upon conviction of an offense in
 2   violation of 21 U.S.C. § 841(a)(1), as set forth in this Information Superseding
 3   Indictment, Defendant, BRICE CHRISTIAN DAVIS, shall forfeit to the United
 4   States of America, any property constituting, or derived from, any proceeds
 5   obtained, directly or indirectly, as the result of such offense(s) and any property
 6
     used or intended to be used, in any manner or part, to commit or to facilitate the
 7
     commission of the offense(s), including, but not limited to: a Glock, model 22C,
 8
     .40 caliber pistol, serial number NWA719; and, 15 rounds of .40 caliber
 9
     ammunition, head stamped “WINCHESTER 40 S&W.”
10
           3.     If any of the property described above, as a result of any act or
11
12   omission of the Defendant(s):

13         a.     cannot be located upon the exercise of due diligence;
14         b.     has been transferred or sold to, or deposited with, a third party;
15
           c.     has been placed beyond the jurisdiction of the court;
16
17         d.     has been substantially diminished in value; or
18
           e.     has been commingled with other property which cannot be divided
19                without difficulty,
20
     the United States of America shall be entitled to forfeiture of substitute property
21
22   pursuant to 21 U.S.C. § 853(p).

23         Dated this 1st day of September 2020.
24                                                 William D. Hyslop
25                                                 United States Attorney
26
27                                                 s/ Patrick J. Cashman
                                                   Patrick J. Cashman
28
                                                   Assistant United States Attorney


     Information Superseding Indictment - 2
